       Case 1:21-cv-04869-AT-WEJ Document 8 Filed 02/02/22 Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 MARKEL ODEN, individually and
 on behalf of all others similarly
 situated,                                    CIVIL ACTION NO. 1:21-CV-04869-
                                              AT-WEJ
              Plaintiff,
 v.
 STARBUCKS CORPORATION,

              Defendant.


                            JOINT STATUS REPORT
      Plaintiff Markel Oden (“Plaintiff”) and Defendant Starbucks Corporation

(“Defendant,” and collectively with Plaintiff, the “Parties”), pursuant to the Court’s

January 3, 2022 Order (Dkt. 7), hereby jointly provide the Court a status update

regarding this matter. On January 28, 2022, the Parties conducted mediation with

mediator Penn Payne. The mediation was successful and the parties reached an

agreement in principle to settle the claims of both Plaintiff and opt-in Plaintiff Scott

Cocolin contingent on the dismissal of this action in its current form with prejudice.

The parties will work cooperatively to finalize these settlements and to file with the

Court a stipulation of dismissal with prejudice.
      Case 1:21-cv-04869-AT-WEJ Document 8 Filed 02/02/22 Page 2 of 3




     Respectfully submitted this 2nd day of February 2022.


/s/ Mitchell L. Feldman*                /s/ Jennifer Miller
Mitchell L. Feldman                     Jennifer Miller
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 MARKEL ODEN, individually and
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 situated,                                   CIVIL ACTION NO. 1:21-CV-04869-
                                             AT-WEJ
             Plaintiff,
 v.
 STARBUCKS CORPORATION,

             Defendant.


                          CERTIFICATE OF SERVICE

      I hereby certify that on this 2nd day of February, 2022, a copy of the foregoing

was filed electronically through the ECF system, is available for viewing and

downloading from the ECF system and will be sent electronically to the registered

participants identified on the Notice of Electronic Filings, including Plaintiff’s

counsel of record as follows:

                    Mitchell L. Feldman
                    mfeldman@flandgatrialattorneys.com


                                             /s/ Jennifer B. Miller
                                             Jennifer B. Miller
